    Case: 18-15166, 06/18/2019, ID: 11335927, DktEntry: 151, Page 1 of 1

              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                 June 17, 2019


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: The Little Sisters of the Poor Jeanne Jugan Residence
          v. California, et al.
          No. 18-1192
          (Your No. 18-15144, 18-15166, 18-15255)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
